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15
                            UNITED STATES DISTRICT COURT
16
                                   DISTRICT OF ARIZONA
17
     Mi Familia Vota, et al.,
18
                         Plaintiffs,        Case No: 2:21-cv-1423-DWL
19
20   v.                                     NOTICE OF WITHDRAWAL OF
                                            COUNSEL WITHIN FIRM
21   Katie Hobbs, et al.,
22                       Defendants.

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      Case 2:21-cv-01423-DWL Document 150 Filed 06/10/22 Page 2 of 3




 1         Under Rule 83.3(b)(4) of the Local Rules of Civil Procedure, notice is hereby given
 2   that Daniel Shapiro, who has been admitted pro hac vice in this matter, will no longer be
 3   affiliated with Consovoy McCarthy PLLC, and therefore withdraws as counsel for
 4   Intervenor-Defendants Republican National Committee and National Republican
 5   Senatorial Committee, who will remain represented by the other undersigned attorneys.
 6   All other counsel of record remain the same.
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 1   Respectfully submitted this 10th day of Une, 2022.
 2
                                             By: /s/ Daniel Shapiro
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20                              CERTIFICATE OF SERVICE
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           I e-filed this document on June 10, 2022, which emailed everyone requiring notice.
22
                                             /s/ Daniel Shapiro
23                                           Attorney for Intervenor-Defendants
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